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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JOHN J. AQUINO,
 Chapter 7 Trustee,
 by its assignee, Convergent                       1:21-cv-1355 (JSR)
 Distributors of Texas, LLC,
                                                   MEMORANDUM ORDER
              Plaintiff,

         -against-

 ALEXANDER CAPITAL, LP, and
 its Managing Partners:
 JOSEPH AMATO,
 ROCCO GUIDICIPIETRO, and
 NESA MANAGEMENT, LLC,

              Defendants.


JED S. RAKOFF, U.S.D.J.:

     Inpellis, Inc. (formerly Alterix, Inc., but always referred to

here as “Inpellis”) was a developmental stage pharmaceutical company

that was forced into bankruptcy following a failed initial public

offering (IPO) in 2015.1 John Aquino is the Chapter 7 trustee of the

Inpellis bankruptcy estate, and he has sued Alexander Capital, LC

(ACLP)     and    its    three   managing       partners,   Joseph    Amato,   Rocco

Guidicipietro, and NESA Management, LLC (NESA Defendants). Aquino

alleges    that   ACLP    fraudulently   misrepresented       its    capacities   and

intentions as part of a scheme to induce Inpellis to engage ACLP as


     1Aquino has assigned his claims as Chapter 7 trustee of Inpellis’
bankruptcy estate to Convergent Distributors of Texas, LLC. The Court
refers to Aquino and Convergent collectively as “Aquino” or
“Plaintiff.”



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its managing underwriter and exclusive financial advisor during the

leadup to the IPO; that ACLP forced a change of management at Inpellis

and   installed    a   disloyal   CEO,   who   then   colluded   with      ACLP   in

mismanaging the IPO process; that ACLP and the CEO deliberately misled

the Inpellis board about the terms on which ACLP would conduct the

IPO; and that ACLP breached other contractual obligations and fiduciary

duties owed to Inpellis.

      Aquino brings four claims against all Defendants: fraudulent

inducement, breach of contract, breach of fiduciary duty, and fraud.

ECF 40 ¶¶ 8(d), 57–86. Aquino brings these claims against ACLP directly

and against the NESA Defendants in their capacities as managing

partners of ACLP. Aquino argues that the NESA Defendants are liable

as general partners because ACLP has lost its status as a limited

partnership under Delaware law after failing to observe the necessary

formalities required by statute. Id. at ¶¶ 4–7.

      Before the Court are the Defendants’ two motions to dismiss

Aquino’s Fourth Amended Complaint, ECF 40 (Compl.), which was filed

shortly after Aquino’s opposition brief.2 ACLP argues in its motion,

ECF 44 (ACLP Mot.), that the Fourth Amended Complaint is pled with

insufficient particularity under Fed. R. Civ. P. 9(b); that neither

enforceable obligations nor fiduciary duties arose from Inpellis’


      2While the Third Amended Complaint, ECF 32, was the operative
pleading when the motions to dismiss and Aquino’s opposition were
filed, Aquino subsequently filed the Fourth Amended Complaint, ECF
40, as permitted by the Case Management Plan. As discussed further
below, the Court assesses the motions with reference to the facts
alleged in the Fourth Amended Complaint. See infra at 11.
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engagement of ACLP; and that the acts and knowledge of the CEO that

ACLP       allegedly   installed    should   be    imputed      to   Inpellis,   thereby

vitiating ACLP’s alleged misrepresentations. In their motion, ECF 46

(NESA Mot.), the NESA Defendants incorporate ACLP’s arguments by

reference and add two others: that they are improper defendants because

they fall outside the scope of the Bankruptcy Court’s assignment of

claims to Convergent and that they are not liable for ACLP’s contract

and tort obligations as a matter of Delaware partnership law.

       For the reasons set forth below, the Court denies the motions to

dismiss in their entirety.

I.     Factual Background3

       This action arises out of agreements between ACLP and Inpellis

regarding a proposed IPO of Inpellis stock. Aquino contends that

Inpellis was fraudulently induced to engage ACLP, which allegedly

misrepresented its ability and intention to conduct a “firm commitment”

offering.4       Aquino   further    alleges      that   ACLP    mismanaged      the   IPO




       All allegations are drawn from the Fourth Amended Complaint,
       3

ECF 40. When adjudicating a motion to dismiss, the Court “accept[s]
all factual allegations in the complaint and draw[s] all reasonable
inferences in the plaintiff’s favor.” ATSI Commc’ns, Inc. v. Shaar
Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007).


       Offering an IPO on a “firm commitment” basis means that the
       4

underwriter “agrees to purchase an agreed-upon percentage of the
offering irrespective of whether the securities can be sold in the
public market.” Compl. ¶ 27. For an underwriter to offer a firm
commitment IPO, as opposed to a “best efforts” offering where the
underwriter assumes no risk on the unsold portion of the offering,
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preparation       process,    tricked     Inpellis    into      installing     an   ACLP

confederate       as   CEO,    and   fraudulently     obtained        signatures    from

Inpellis’ board on a registration statement that secretly changed the

offering to a “best-efforts” basis at the last moment. Aquino blames

ACLP’s conduct, particularly its last-minute switch to a best-efforts

offering, for rendering Inpellis’ securities a penny stock, which

caused the capital offering to fail, invited regulatory scrutiny, and

culminated in Inpellis’ bankruptcy.

        A. Engagement Agreements

        In 2014 and 2015, ACLP and Inpellis executed two substantially

identical “Engagement Agreements” premised on ACLP’s stated intent to

enter into an “exclusive underwriting agreement immediately prior to

obtaining an ‘effective’ Registration Statement, for an offering ‘of

up to $20,000,000’ that [ACLP] would undertake on a ‘Firm Commitment,’

i.e.,       guaranteed,    basis.”   Compl.    ¶   8.5   Through       the    Engagement

Agreements,       Inpellis    allegedly    retained      ACLP    as     the   “Managing

Underwriter” for Inpellis’ IPO and as Inpellis’ “Exclusive Financial


signals to the market the underwriter’s confidence in the offering.
Id.; see also id. ¶ 46.


       The first Engagement Agreement was dated July 29, 2014. Id. ¶
        5

9. The parties amended this Engagement Agreement on two occasions and
then, on October 5, 2015, “amended and re-stated [it] in its entirety.”
Id. ¶ 12. The parties treat the Engagement Agreements, which are
attached to the Fourth Amended Complaint, as interchangeable. For
convenience, so does the Court. The Court quotes always from the second
Engagement Agreement, dated October 5, 2015, ECF 40-2, unless otherwise
specified.



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Adviser,” thereby preventing Inpellis from employing other, reputable

investment banks. Id. ¶ 8(a).

      Both Agreements concern ACLP’s “proposal with respect to an

initial public offering ... of up to $20,000,000.” ACLP stated that

it was its intent, “immediately prior to the Effective Date, to enter

into an exclusive underwriting agreement.... The underwriter/broker

will act as agent on a ‘Firm Commitment’ basis.” Id. ¶ 13; ECF 40-1

at 1; ECF 40-2 at 1. Pursuant to the Agreements, the parties entered

into an “exclusive engagement” in which the “engagement of [ACLP] as

managing underwriter shall commence at the signing of this document

and continue for (3) months after the SEC provides a Notice of

Effectiveness on the registration statement.” Compl. ¶ 14; ECF 40-1

at 1; ECF 40-2 at 1. The parties agreed that ACLP would be “managing

underwriter” and “exclusive financial advisor” for the IPO. Compl.

¶¶ 14–15; ECF 40-1 at 1–3; ECF 40-2 at 1–3. The Agreements also laid

out a fee structure, see Compl. ¶¶ 15–18; ECF 40-1 at 1–3; ECF 40-2

at 1–3, and required Inpellis to retain both an accounting firm and a

law firm acceptable to ACLP, see Compl. ¶ 19; ECF 40-1 at 3; ECF 40-2

at   4.   Inpellis    retained   accounting    and   law   firms   and     expended

substantial    sums   in   connection   with   other   obligations       under   the

Agreements. Compl. ¶¶ 20–21, 25–26, 31.

      In the Agreements, ACLP stated its “intention to enter into the

Underwriting Agreement on or immediately prior to the Effective Date”

but reserved the right not to proceed if, in its sole judgment, any

one or more of nine stated conditions occurred. ECF 40-1 at 4; ECF 40-

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2 at 5. However, ACLP did not notify Inpellis it believed any of these

conditions occurred during the period from the execution of the first

engagement agreement through the filing of Inpellis’ S-1 Registration

Statement on November 10, 2015. Compl. ¶ 24.

     Aquino alleges that ACLP fraudulently induced Inpellis to enter

into these Engagement Agreements. Specifically, ACLP held itself out

to Inpellis as capable of and intending to conduct a firm commitment

offering, both in the Engagement Agreements and in communications with

Inpellis management. Id. ¶ 29. However, ACLP knowingly concealed that

it lacked both the financial capacity and the authority from its

regulator, the Financial Industry Regulatory Authority (FINRA), to

underwrite firm commitment offerings. Id. ¶¶ 8(a), 28–29. In fact,

because    ACLP   had    a   pattern     of       wrongfully    conducting    guaranteed

offerings, FINRA would later investigate and charge the firm with

regulatory violations. Id. ¶ 30. On October 31, 2019, ACLP waived its

right to contest the charges and consented to being censured and fined

$45,000.    Id.   ACLP   also   allegedly          knew   the   value   to   Inpellis    of

proceeding with a “firm commitment,” as opposed to a “best efforts,”

IPO, and Inpellis relied on these representations in engaging ACLP

rather than another underwriter. Id. ¶ 27. Still, ACLP concealed these

facts from Inpellis’ board of directors. Id. ¶ 28.

     B. Path to IPO

     Beginning in April 2015, Inpellis took steps toward an initial

public offering, advised by ACLP. It filed five draft registration

statements     with   the    Corporate    Finance         Division   (CorpFin)   of     the

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Securities and Exchange Commission (SEC) on a confidential basis, and

CorpFin responded to each draft. Id. ¶¶ 31–33. Each of the five draft

registration statements indicated that ACLP was undertaking the IPO

on a firm commitment basis. Id. ¶ 34. Inpellis also assumed $5.25

million in bridge loans arranged by ACLP in its role as financial

advisor, and Inpellis provided the lenders with a copy of one of the

draft registration statements. Id. ¶¶ 36–37. The terms of the bridge

loan provided that, if the IPO did not proceed as anticipated, Inpellis

was obliged to discharge its debt by August 17, 2016. Id. ¶ 38. ACLP,

in   its   role   as   exclusive   financial   advisor   and   pursuant     to   the

Engagement Agreements’ terms, received approximately $500,000 as a

“placement fee” for arranging the bridge loans. Id. at ¶ 39.

      In or around July 2015, ACLP induced Inpellis to terminate its

CEO, Dr. Harry McCoy, and replace him with Dr. Patrick Mooney, an ACLP

pharmaceutical industry analyst and longtime friend of ACLP’s head of

capital markets. Id. ¶¶ 29(c), 40(a). ACLP’s stated rationale for the

required leadership change was that ACLP “had given [Inpellis] a firm

commitment offering and ... wanted to make sure they had management

in place that they felt would be attractive to capital.” Id. ¶ 40(a).

Inpellis appointed Mooney as CEO in August 2015. Id. ¶ 40(b). Two of

the draft registration statements filed after Mooney joined Inpellis

omitted previously included material disclosures regarding Inpellis’

parent company, BioChemics. Id. ¶ 40(c). The SEC commented on these

deletions and directed that the prior disclosures be reinserted,

including disclosures of risks related to purported security interests

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held by BioChemics’ creditors in the intellectual property upon which

Inpellis’ business depended. Id. ¶¶ 40(c)–(d). Between the dates of

these    two   draft   registration    statements,    Inpellis    purchased    from

BioChemics the intellectual property that was the subject of these

disclosures, and BioChemics used the $750,000 purchase price to pay

an SEC fine. Id. ¶ 40(e). Still, ACLP and Mooney did not fully restore

the disclosures demanded by CorpFin reviewers. Id. ¶¶ 40(f)–(g).

     On November 9, 2015, ACLP and Mooney caused members of the

Inpellis board to receive by email “the current draft of the S-1” for

an 8:00 p.m. conference call regarding the public filing that was

scheduled to take place the next day, November 10. Id. ¶ 43. This

draft contained signature pages for the board and officers. Id. ¶ 44.

On November 10, ACLP and Mooney caused the board to receive by email

“the two signature pages.” Board members were instructed to “sign” or

indicate by email that they had “signed,” and the board members did

as instructed. Id. ¶ 45. On the same date, ACLP and Mooney reviewed a

revised draft of the S-1, which was not provided to the board. The

revised draft changed the “Preliminary Prospectus” statement from

“This is a firm commitment initial public offering” to “This is an

initial public offering,” and also characterized the IPO as a “best

efforts offering.” Id. ¶¶ 41, 46. ACLP and Mooney caused the signature

pages to be filled in with the board members’ electronic signatures

without the board members’ knowledge or approval. Id. ¶ 47. ACLP and

Mooney    publicly     filed   the   revised   S-1   with   the   board    members’

unauthorized electronic signatures. Id. ¶ 48. The revised S-1 did not

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include the disclosures the SEC had previously directed Inpellis and

ACLP to restore. Id. ¶ 40(g).

     C. The Aftermath

     The change from a “firm commitment” to a “best efforts” offering

rendered the Inpellis IPO a “penny stock” that could not meet NASDAQ’s

listing requirements. Id. ¶ 50. On November 23, 2015, CorpFin required

Inpellis to explain why the offering did not now meet the definition

of a penny stock and how it was expected to meet the NASDAQ listing

standards. Id. ¶ 51. Then, on November 30, 2015, the SEC notified

Inpellis     that   it    had   issued    a    “Stop   Order”   and   initiated   an

investigation of the IPO, focusing on the missing disclosures in the

registration statements. Id. ¶ 52. Inpellis resolved the matter without

penalty or an adverse finding by voluntarily withdrawing the IPO,

among other steps. Id. ¶ 53. As a result of the failed IPO, Inpellis

could not convert the bridge loan as anticipated and defaulted. Id.

¶ 54. The bridge lenders filed an involuntary Chapter 7 bankruptcy

petition against Inpellis on July 26, 2018, and an Order for Relief

was entered by the Massachusetts U.S. Bankruptcy Court on November 1,

2018. Id. ¶ 55.

     Aquino alleges a variety of ways in which the failed IPO harmed

Inpellis. ACLP estimated that Inpellis’ pre-IPO value was $75 million,

and Aquino alleges that ACLP’s conduct cost Inpellis an intended $20

million guaranteed capital raise and impaired Inpellis’ ability to

continue as a going concern. Id. ¶ 8(c). ACLP, in concert with Mooney,

caused     Inpellis      to   take   on   substantial    financial    obligations,

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including $6.25 million in new debt to finance the IPO; to incur

expenses, including for attorneys and accountants acceptable to ACLP;

and   to    pay   financial   advisory   fees   to   ACLP,   as   the   Engagement

Agreements required. Inpellis also took on significant financial and

regulatory risks associated with the IPO, risks that were exacerbated

by ACLP’s wrongful conduct. Id. ¶ 8(b). The failed IPO then led to an

extensive and ruinous SEC investigation, resulted in the withdrawal

of the offering, and, ultimately led Inpellis into an involuntary

bankruptcy petitioned by the seed capital investor placed by ACLP. Id.

¶ 8(c).

II.   Procedural History

      Aquino serves as Chapter 7 trustee of Inpellis’ bankruptcy estate

and commenced this action as an adversary proceeding on October 30,

2020, in the U.S. Bankruptcy Court for the District of Massachusetts.

Aquino, ch. 7 Trustee v. Alexander Capital LP, USBC D.Mass. Adversary

Proceeding Case No. 20-011227. The Bankruptcy Court then approved the

assignment of all of the trustee’s rights in this action to Covergent

Distributors of Texas, LLC (Convergent). See ECF 46-1. The Bankruptcy

Court then granted a joint motion by Aquino and ACLP to transfer the

case to the Southern District of New York on February 3, 2021. See

Compl. ¶ 1(d).

      Defendants filed the pending motions to dismiss with reference

to the Third Amended Complaint. ECF 32. But, in accordance with the

case management plan, ECF 38, Aquino filed the Fourth Amended Complaint



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on June 18, 2021, two days after filing his opposition brief.6 In

Pettaway v. Nat’l Recovery Sols., LLC, 955 F.3d 299, 303–304 (2d Cir.

2020), the Second Circuit held that in this situation, “the district

court has the option of either denying the pending motion as moot or

evaluating the motion in light of the facts alleged in the amended

complaint.” Defendants have asked that the Court not find the motions

to dismiss moot, and the Court agrees.

      The Court’s subject matter jurisdiction sounds in diversity and

under 28 U.S.C. § 1334(b) (giving “district courts ... original but

not exclusive jurisdiction of all civil proceedings arising under”

bankruptcy law). ACLP expressly consented to the personal jurisdiction

of   this   Court   and   to   venue,   both   in   its   underlying   Engagement

Agreements with Inpellis and in a joint motion for transfer before the

Bankruptcy Court for the District of Massachusetts. Compl. ¶¶ 1(c)–

(d); ECF 1 at 97–100. The NESA Defendants do not challenge the Court’s

personal jurisdiction, nor do they object to venue in the Southern

District of New York.




      6Aquino filed his First Amended Complaint on April 19, 2021. ECF
15. The First Amended Complaint added the NESA Defendants. Discovering
that he had misspelled the name of one of the new defendants, Aquino
filed a Second Amended Complaint on April 26, 2021. ECF 21. Defendants
did not object. At a telephonic status conference held May 19, 2021,
the Court granted Aquino leave to file the Third Amended Complaint,
which Aquino filed on May 24, 2021. ECF 32.



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III.   Standard of Review

       To survive a motion to dismiss, a plaintiff must “state a claim

 to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

 662, 678 (2009). “A claim has facial plausibility when the plaintiff

 pleads factual content that allows the court to draw the reasonable

 inference that the defendant is liable for the misconduct alleged.”

 Id. When adjudicating a motion to dismiss, the Court “accept[s] all

 factual    allegations    in   the   complaint     and   draw[s]   all   reasonable

 inferences in the plaintiff’s favor.” ATSI Commc’ns, Inc. v. Shaar

 Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007). Any claim rooted in fraud

 is subject to the heighted pleading standard of Fed. R. Civ. P. 9(b)

 (Rule 9(b)).

 IV.   Threshold Issues

       The motions to dismiss raise three cross-cutting issues that

 Defendants believe to be dispositive of at least some of Aquino’s

 claims. First, the NESA Defendants argue that Aquino may not sue them

 because    they   fall   outside     the   scope   of    the   Bankruptcy   Court’s

 assignment of Inpellis’ claims to Aquino. Second, the NESA Defendants

 argue that even if they fall within the scope of the Bankruptcy Court’s

 assignment, Delaware law does not make them amenable to suit for ACLP’s

 torts. Third, all Defendants argue that the actions and knowledge of

 Dr. Patrick Mooney, Inpellis’ CEO during the majority of the period

 of time covered by the Fourth Amended Complaint, should be imputed to

 Inpellis, and therefore that at least some of Inpellis’ claims must

 fail. Because the disposition of each of these matters affects more

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than one cause of action, the Court addresses these arguments before

turning to Defendants’ specific objections to each of Aquino’s four

claims.

        A. Aquino’s Standing to Sue the NESA Defendants

        The NESA Defendants argue that Aquino has failed to plead facts

sufficient to establish that he is entitled to sue them. The parties

agree    that   Aquino’s     authority    to    bring   claims   against    the    NESA

Defendants depends on the scope of the Bankruptcy Court’s Order

Approving Assignment of Claims Free and Clear of Liens, Claims, and

Encumbrances,     ECF   46-1      (Assignment    Order).   Aquino   pled    that    the

Bankruptcy Court’s assignment to Convergent of the Inpellis estate’s

claims against ACLP included all claims “that [Inpellis] may have

against [ACLP] and any of its predecessors, successors, assigns and

affiliates arising out of the [IPO].” Compl. ¶ 1(a)(iii). The NESA

Defendants argue, however, that Aquino failed to plead that they fall

into any of these categories. Aquino responds that the NESA Defendants

are “affiliates” of ACLP and, consequently, that the Assignment Order

included any claims that Inpellis had against the NESA Defendants. ECF

39 at 23–27 (Opp.).

        The Court agrees with Aquino that he pled an adequate basis to

establish that the NESA Defendants are “affiliates” of ACLP, and so

they are proper parties to this action.

        The Assignment Order states in relevant part that it pertains to

“certain claims ... held by the [Bankruptcy] Estate against [ACLP].”

Assignment      Order   at   2.   By   specifying   that   it    provides   for     the

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assignment of “all of the transactions contemplated” by a motion Aquino

had made, id. at ¶ 4, the Assignment Order incorporated by reference

the entire class of claims Aquino enumerated in his Motion of Chapter

7 Trustee for Entry of Order Authorizing Assignment of Claims Free and

Clear of All Liens, Claims and Encumbrances, ECF 46-3 (Assignment

Motion). In pertinent part, the Assignment Motion specified that “[f]or

purposes of clarity, the assignment of the AC[LP] Claims shall include

the assignment of all of the estate’s right, title, and interest in

and to any and all claims, causes, causes of action, and litigation

rights of any nature whatsoever that the estate may have as against

AC[LP], or any of its predecessors, successors, assigns and affiliates,

arising in connection with,” Inpellis’ failed IPO. Id. ¶ 11 (emphasis

added).

     Aquino argues that NESA Defendants are “affiliates” of ACLP under

general legal usage, federal statutes, and Delaware and New York

caselaw, because they exerted control over ACLP as its managing

partners. Opp. 23–27. “Under the plain meaning of the term, someone

‘affiliated’ with a person or organization is ‘closely associated

with’ the person or organization.” PWP Xerion Holdings III LLC v. Red

Leaf Resources, Inc., 2019 WL 5424778 at *7 (Del. Ch. 2021) (citing

Merriam-Webster Dictionary, “Affiliate”). Black’s Law Dictionary has

long defined an “affiliate” in terms of the exercise of control by one

person or entity over another. Affiliate, Black’s Law Dictionary (11th

edn. 2019). Likewise, the Bankruptcy Code defines an “affiliate” as a

person or corporate entity that “directly or indirectly owns, controls,

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or holds with power to vote, 20 percent or more of the outstanding

voting securities of the debtor.” 11 U.S.C. § 101(2). Other federal

statutes and regulations also define affiliation in terms of control

or management. See, e.g., 49 U.S.C. § 30106(d)(1) (defining “affiliate”

as “a person other than the owner that directly or indirectly controls,

is controlled by, or under common control with the owner”); 12 U.S.C.

§ 1841(k) (defining “affiliate” as “any company that controls, is

controlled by, or is under common control with another company”).

Finally,     Second   Circuit      caselaw     has    described     the    “affiliate”

relationship as turning on whether a person or entity had the “direct

or   indirect   ...   power   to    direct     or    cause   the   direction     of   the

management      and   policies”      of     another.     Rothstein        v.   American

International Group, Inc., 837 F.3d 195, 206–07 (2d Cir. 2016).

      The NESA Defendants are clearly affiliates of ACLP under these

principles.     Aquino   alleged     that      Amato,   Guidicipietro,         and    NESA

Management LLC were managing partners of ACLP during the relevant

period, and they controlled ACLP through their exercise of management

authority and their ownership stakes. The NESA Defendants do not

contest these facts.

      The NESA Defendants instead rest their argument on the proposition

that they were not served with notice of Aquino’s Assignment Motion.

NESA Mot. 6–7. The bankruptcy judge wrote that notice of the Assignment

Motion and hearing was given to “the notice parties and all other

interested parties.” See Assignment Order ¶¶ D; see also id. at 2. But

the NESA Defendants cite no authority for the proposition that they

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are immune from suit solely because they were not named on the

certificates of service associated with the assignment motion. See ECF

46-2. In any event, as plaintiff’s counsel noted at argument, the NESA

Defendants’ counsel is among those listed on the Assignment Motion’s

certificate of service. See id. at 4; Tr. 33:17-25. So even if the

service list were dispositive, the NESA Defendants could not escape

suit.

        B. NESA Defendants’ Liability for ACLP’s Torts

        That   the    Assignment    Order   covered   claims   against    the   NESA

Defendants does not mean that Inpellis had any claims against them to

assign. The NESA Defendants argue that they are improper defendants

in relation to some or all of Aquino’s claims against ACLP, for two

reasons: (1) limited partners in a limited partnership are not subject

to suit under Delaware law, and (2) even if, as Aquino contends, ACLP

is no longer a limited partnership, general partners in Delaware

partnerships         are   liable   only    for   a   partnership’s    contractual

obligations, not its torts.

        The Court rejects the NESA Defendants’ positions on both issues.

Under Delaware’s Revised Uniform Partnership Act (DRUPA), ACLP ceased

being a limited partnership prior to the events at issue because it

failed    to   comply      with   certain   statutory   formalities.     The    Court

therefore holds that ACLP operated as an ordinary partnership during

the period at issue making its partners, including the NESA Defendants,

liable for the partnership’s “obligations,” 6 Del. C. § 15-306(a),

which the Court construes to include the partnership’s torts.

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             a. ACLP Lost its Limited Partnership Status

      Under Delaware law, the default form of association consisting

of   two    or    more    persons   to    carry   on    business     for   profit      is   a

partnership.7 6 Del. C. § 15-202. Because the partnership is Delaware’s

default business structure, parties must take certain steps to form

and maintain any other partnership structure, such as a limited

partnership.

      Aquino alleges that because ACLP did not comply with Delaware’s

statutory requirements for maintaining a limited partnership, ACLP was

a “defectively formed limited partnership” and therefore reverted to

a Delaware partnership. Compl. ¶¶ 1(b)(iii), 3, 7. While Aquino’s

position     is    not    quite   right    --    ACLP   appears      not   to   have   been

“defectively formed” -- the Court agrees with his broader point that

ACLP lost its status as a Delaware limited partnership and has thus

become a Delaware partnership by default.

      ACLP was properly formed as a limited partnership in 1995. See

ECF 40-3 at 4–5. Delaware law requires that a certificate of limited

partnership contain the “name and the business, residence or mailing

address of each general partner.” 6 Del. C. § 17-201. ACLP’s initial

certificate       named    Alexander     Partners,      Inc.,   as   the   sole   general



      7Delaware refers to this form of business association simply as
a partnership. See 6 Del. C. § 15-101(13). The Delaware Division of
Corporations sometimes uses the term “general partnership.” For
clarity, the Court will refer to this form of business association as
a “partnership” or a “Delaware partnership.”



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partner. ECF 40-3 at 4–5. Delaware law requires that a certificate of

amendment must be filed within 90 days after the admission of a new

general partner, the withdrawal of a general partner, a change in the

name of the limited partnership, or certain changes with regard to the

limited partnership’s managing agent. See 6 Del. C. § 17-202.

     ACLP filed a certificate to restore ACLP to good standing in

1998. This 1998 certificate identified Alexander Capital Holdings,

Inc., as the sole general partner. ECF 40-3 at 6–7. Then, on April 23,

2012, ACLP filed a certificate of revival. This 2012 certificate also

listed Alexander Capital Holdings, Inc., as the sole general partner.

Id. at 8–9. But one week later, on April 30, 2012, Alexander Capital

Holdings, Inc. filed a certificate of dissolution.8 ECF 40-4 at 8. The

Office of the Secretary of State of Delaware has confirmed that it has

no further records concerning the partnership status of ACLP. ECF 40-

3 at 2–3.

     DRUPA provides that the occurrence of any one of five specified

events triggers the nonjudicial dissolution of a limited partnership.

One of these events, subject to certain inapplicable exceptions, is



     8 Under Delaware law, a corporation continues in existence for
three years after filing a certificate of dissolution. 8 Del. C. § 278.
This period, which may be extended by court order, provides time for
the “winding up” of the corporation’s business but prohibits the
corporation from “continuing the business for which the corporation
was organized.” For Alexander Holdings, Inc., the three-year period
concluded April 30, 2015. Alexander Holdings, Inc., filed Delaware tax
returns in 2013, 2014, and 2015, each time reporting zero assets. See
ECF 40-4 at 10–18.



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the “withdrawal of a general partner unless at the time there is at

least 1 other general partner.” 6 Del. C. § 17-801. Because Defendants

have not asserted that ACLP ever filed a certificate naming any other

individual or entity as its general partner, the Court concludes that

the dissolution of Alexander Capital Holdings, Inc. triggered ACLP’s

nonjudicial dissolution as a limited partnership as of April 30, 2012.

       A limited partnership may continue after its dissolution for

winding-up purposes only. 6 Del. C. § 17-803. But ACLP did not stop

operations following its legal dissolution as a limited partnership

on April 30, 2012. Aquino has submitted a FINRA BrokerCheck report

dated 2020, and it indicates that ACLP was active through at least

2019. See ECF 40-6. The report lists nine partners of ACLP, including

NESA       Management,    and    certain    officers,    including     Amato   and

Guidicipietro. Id. at 3–6.9 The FINRA report also indicates that Amato

and Guidicipietro are the beneficial owners of NESA Management. Id.

at 11. Because ACLP has continued to operate as an association of two

or more persons to conduct business for profit after its dissolution

as a limited partnership, and Defendants have presented no records

reflecting that ACLP has taken the steps necessary to re-register

itself as a Delaware limited partnership, the Court concludes that




       The FINRA report therefore raises the question whether Amato
       9

and Guidicipietro are in fact partners of ACLP. However, the Fourth
Amended Complaint states that they are, and on a motion to dismiss,
the Court must the complaint’s allegations as true. Compl. ¶¶ 4–5. The
NESA Defendants acknowledge as much. See NESA Mot. 8.



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ACLP has operated since May 1, 2012, as a Delaware partnership rather

than a limited partnership.

            b. Delaware Partners’ Liability in Tort

     DRUPA’s provision on a “[p]artner’s liability” provides that “all

partners are liable jointly and severally for all obligations of the

partnership.” 6 Del. C. § 15-306(a) (emphasis added).

     Defendants argue that even if the NESA Defendants are partners

in a Delaware partnership rather than a limited partnership, Delaware

law does not hold partners liable for the partnership’s torts. See ECF

52. They contend (incorrectly) that Aquino may not sue them directly

in this action but must first prevail against ACLP and then seek to

collect against the NESA Defendants in a separate action if the

partnership does not satisfy the judgment. See id. at 2.10 Aquino

responds that Delaware law holds partners liable for all obligations

of a Delaware partnership, whether incurred in contract, tort, or

otherwise. See ECF 51.

     Surprisingly, whether partners are liable for the torts of a

Delaware partnership is an unsettled question, with no definitive


     10 Aquino convincingly disputes Defendants’ suggestion that
Delaware law requires partners to be joined after a litigant obtains
a judgment against the partnership. See ECF 51. The DRUPA provision
governing judgment creditors provides that a tort plaintiff may only
recover from the assets of a partner after having received a judgment
against the partner for that obligation, see 6 Del. C. § 307(c), but
the same section permits plaintiffs to bring an action “against the
partnership and, to the extent not inconsistent with § 15-306 of this
title, any or all of the partners in the same action,” see id. § 15-
307(b).



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answer in the case law or leading treatises. See McEssy v. Gray, 2019

WL 6829053, *12 (N.D.N.Y. Dec. 13, 2019) (“Delaware courts are oddly

silent as to what precisely ‘partnership obligations’ mean, and whether

they reach tort liability.”). McEssy recognized that “the common scheme

and principle across the nation is that general partners will be held

liable for every act, tortious or otherwise, committed by other

partners or by the partnership itself.” Id. at *14. Yet McEssy focused

on the textual change that resulted from Delaware’s adoption of DRUPA,

its version of the Revised Uniform Partnership Act (RUPA) in 1999.

Prior to 1999, the relevant provision, 6 Del. C. § 1515(a), held that

“a   general   partner   [would]   be   jointly   and   severally   liable    for

everything chargeable to the partnership.” Id. (citation omitted).

McEssy   interpreted     the   change    from   “everything    chargeable”     to

“obligations” as evidence that the scope of a partner’s liability had

become “narrower ... by limiting liability to the monetary obligations

of the partnership.” Id. at 13. This change, combined with other

provisions regulating vicarious liability, led Judge Hurd to conclude

that “the legislature of [Delaware] made a conscious choice not to

include” tort liability.” Id.

      However, after reviewing the parties’ supplemental briefing on

this issue, the Court has concluded that the 1999 change did not

eliminate partners’ liability for a Delaware partnership’s torts.

      First,    while    section    15-306(a),     which    concerns       general

partnerships, does not define “obligations of a partnership,” the

neighboring subsection concerning limited liability partnerships, 15-

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306(c), addresses “an obligation of a partnership ... whether arising

in contract, tort, or otherwise.” Since terms are presumed to have

consistent meanings within a statute, this weighs in favor of the

broader interpretation of “obligation.” See Env’t Def. v. Duke Energy

Corp., 549 U.S. 561, 574 (2007), (“[W]e presume that the same term has

the same meaning when it occurs here and there in a single statute.”).

     Second, the official comments to RUPA explain that the 1999

revision “changes the UPA rule by imposing joint and several liability

on the partners for all partnership obligations.” Official Comment 1,

§ 306 - Partner's Liability, Rev. Uniform Partnership Act (2020–2021

ed.). Under RUPA’s predecessor, “partners’ liability for torts is

joint and several, while their liability for contracts is joint but

not several.” Id. This comment explains why RUPA § 306(a) (which has

identical wording to 6 Del. C. § 15-306(a)) uses only the word

“obligations”: RUPA sought to eliminate its predecessor’s distinction

between tort and contract liability. Contra McEssy, 2019 WL 6829053

at *13.11 Indeed, courts in other jurisdictions that have adopted RUPA

§ 306(a) have concluded that it provides for “provides for joint and




     11 The Official Comment also undercuts McEssy’s key textual
inference from the revision, by stating that “[t]he UPA reference to
‘debts and obligations,’ is redundant, and no change is intended by
RUPA’s reference solely to ‘obligations.’” Official Comment 1, § 306
- Partner's Liability, Rev. Uniform Partnership Act.



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several liability for obligations arising out of contract and tort.”

Segars v. McCormick, 55 P.3d 470, 472 (Okla. Civ. App. 2002).12

     The Court therefore finds no reason in the text or legislative

history of 6 Del. C. § 15-306 to depart from traditional rule that

partners are liable for their partnership’s torts. Accordingly, the

Court will not dismiss otherwise well-pled tort claims against the

NESA Defendants.

     C. Imputation of CEO Mooney’s Knowledge

     Aquino alleges that ACLP induced Inpellis to replace its CEO with

an ACLP confederate, Dr. Patrick Mooney, who acted “in concert” with

ACLP to misrepresent the investment bank’s capability and intention

of conducting a firm commitment offering, to mismanage the IPO process,

and to fraudulently obtain signatures from the Inpellis board members

on the final registration statement. Compl. ¶ 8(b). Defendants argue

that under these allegations, Inpellis was never deceived, since Mooney

knew about ACLP’s scheme. Under New York law, courts presumptively

impute a corporation’s authorized agent’s knowledge and actions to the



     12 Defendants, for their part, argue that the Court should take
into account the fact that the Delaware legislature did not adopt a
subsequent model partnership statute, the Uniform Partnership Act of
2015 (“UPA 2015”), which would have provided that partners are liable
for “all debts, obligations, and other liabilities of the partnership,”
rather than merely “obligations of the partnership” as under RUPA. See
ECF 52. Such arguments from silence are relatively weak evidence of
legislative intent, even when they address a rejected proposal
considered by the relevant legislature. But Defendants bring forward
no evidence that the Delaware legislature even considered adopting any
provision of UPA 2015.



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corporation where the agent acts within the scope of her authority.

Kirschner v. KPMG LLP, 938 N.E.2d 941, 950–51 (N.Y. 2010). In other

words, Defendants argue that ACLP could not have defrauded Inpellis

in concert with Mooney, because imputing Mooney’s knowledge to Inpellis

vitiates certain elements of Aquino’s causes of action, notably the

deception elements of fraud counts.

      Aquino responds by asking the Court to apply the so-called

“adverse interest exception,” a narrow exception to the presumption

of imputation:

      To come within the exception, the agent must have totally
      abandoned his principal’s interests and be acting entirely for
      his own or another’s purposes .... [The exception] cannot be
      invoked merely because he has a conflict of interest or because
      he is not acting primarily for his principal. This rule avoids
      ambiguity where there is a benefit to both the insider and the
      corporation and reserves this most narrow of exceptions for those
      cases ... where the insider’s misconduct benefits only himself
      or a third party, i.e., where the fraud is committed against a
      corporation rather than on its behalf.

Id. at 952 (citation omitted). Imputation is inappropriate in this

case, Aquino argues, because in carrying out his part in the alleged

scheme to defraud Inpellis, Mooney abandoned Inpellis’ interests and

acted, to Inpellis’ detriment, to further ACLP’s fraudulent scheme.

While all allegations and inferences must be drawn in Aquino’s favor

at   the    motion   to   dismiss   stage,    he   also   bears   the   burden   of

establishing the exception. See id. at 951 (“Agency law presumes

imputation even where the agent acts less than admirably, exhibits

poor business judgment, or commits fraud.”).




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     This Court has refused to impute executives’ acts and knowledge

to their corporations on a motion to dismiss where the executive was

engaged in a scheme to defraud the employer. In In re Refco Sec.

Litig., for instance, this Court held that the adverse interest

exception applied where a corporate president and his accomplices

corruptly induced directors of a family of hedge funds to transfer

funds from protected, customer-segregated accounts at a regulated

entity to unprotected, unsegregated accounts at an unregulated entity,

from which the funds were misappropriated. 779 F. Supp. 2d 372, 374–

75 (S.D.N.Y. 2011). The plaintiffs alleged that the hedge funds “did

not benefit in any way” from the fraudulent activity. Id. at 375–76.

Any ancillary benefits that grew out of the overall relationship

between the corporation and the hedge funds “had nothing to do with

the corruptly procured transfers that are the gravamen of the instant

claims” and therefore did not render the adverse interest exception

inapplicable, especially on a motion to dismiss where the “complaint

must be read most favorably to the plaintiffs.” Id. at 376–77.

     Defendants correctly point out that the Fourth Amended Complaint

never squarely alleges that Mooney acted entirely for ACLP’s purposes.

ECF 47 at 6 (Reply). And one might plausibly infer that Mooney sought

to navigate Inpellis toward a quick IPO for the benefit of Inpellis.

But that is not the only plausible inference, and in this posture, the

Court must draw all plausible inferences in Aquino’s favor. After

careful consideration, the Court concludes that the Fourth Amended

Complaint’s allegations give rise to the inference that Mooney fully

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abandoned Inpellis’ interests and served ACLP’s instead. Therefore,

the Court finds that, at this stage at least, the adverse interest

exception applies, and the Court therefore declines to impute Mooney’s

knowledge to Inpellis.

     Among other things, the Fourth Amended Complaint alleges that

ACLP effectively demanded that Inpellis replace its former CEO with

Mooney. Compl. ¶ 40(a). ACLP deceived Inpellis into agreeing to this

by claiming that it was necessary to replace Inpellis’ former CEO

because Inpellis’ management needed to be attractive to investors,

including the eventual bridge lender, with whom Mooney had a good

relationship.    Id.    Moreover,   Aquino      alleges     that   Mooney    was   a

pharmaceutical analyst for ACLP, id. ¶ 29(c), as well as a “long-time

... friend and associate” of ACLP’s head of capital markets, Chris

Carlin, id. ¶ 40(a). These allegations give rise to an inference that

Mooney would not have become CEO but for ACLP’s demand and that he was

more likely to be loyal to ACLP than to Inpellis.

     Within     weeks   of   Mooney’s        installation    as    CEO,     Inpellis

consummated a $3 million bridge loan and conducted other fundraising

activity in anticipation of the IPO. Id. ¶ 40(b). This, combined with

the fact that the Fourth Amended Complaint alleges no other business

relationship between ACLP and Inpellis, gives rise to an inference

that ACLP induced Inpellis to hire Mooney solely to further ACLP’s

purpose of retaining Inpellis’ underwriting business.

     Perhaps most importantly, the complaint repeatedly alleges that

Mooney undertook all his fraudulent actions in concert with ACLP,

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especially with its executive Carlin. Id. ¶¶ 8(b)–(c), 40(c)–(g), 42–

43, 45–48, 49(ii). Aquino alleges, for instance, that Mooney and ACLP

together concealed from Inpellis’ board ACLP’s inability to underwrite

a firm commitment offering, deleted disclosures from various SEC

filings and did not reinstate those disclosures when the SEC directed

them to do so, replaced the “firm commitment” S-1 draft with a “best

efforts”     draft   after   fraudulently     obtaining    the   signatures   of

Inpellis’ board members, and publicly filed the “best efforts” draft

without the board members’ knowledge or approval. Id. ¶¶ 8(c), 40(c)–

(g), 42–43, 45–48, 49(ii); see also id. ¶¶ 68(iii), 74(ii), 81, 82.

These allegations, combined with the absence of allegations that any

other Inpellis employee was involved in the fraudulent activity, give

rise to an inference that Mooney, colluding with ACLP, sought to

conceal his actions from Inpellis’s board and employees.

     This all collectively gives rise to a further inference: that

Mooney’s concerted actions with ACLP were intended to aid ACLP’s scheme

to effectuate Inpellis’ IPO on a fraudulent basis.13 The Court must

take as true the allegations that ACLP intended to deceive Inpellis

about its ability and intent to conduct a firm commitment offering,


     13Together, these allegations show both that Mooney “had both
motive and opportunity to commit fraud,” and that there is “strong
circumstantial evidence of conscious misbehavior or recklessness.”
Lerner v. Fleet Bank, N.A., 459 F.3d 273, 290–291 (2d Cir. 2006)
(internal quotation marks and citations omitted). Either showing
satisfies Rule 9(b)’s pleading requirements in relation to allegations
of “[m]alice, intent, knowledge, and other conditions of a person’s
mind” for claims sounding in fraud, Fed. R. Civ. P. 9(b).



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and that ACLP was all along intending to switch to a “best efforts”

offering at the last moment. The Court therefore concludes it is

plausible to infer that Mooney intended not to aid Inpellis’ business

but to further ACLP’s scheme. Stated another way, it is plausible that

Mooney      acted     with   intent   to     commit   a   fraud   against   Inpellis,   a

conclusion that suffices to establish the adverse interest exception.

See Kirschner, 15 N.Y.3d at 466–67 (The doctrine “reserves this ...

exception[] for those cases ... where the insider’s misconduct benefits

only himself or a third party, i.e., where the fraud is committed

against a corporation rather than on its behalf.”).

       That     the    Fourth      Amended    Complaint     contains   no   allegations

concerning       actions     Mooney    took    that   advanced    Inpellis’    interests

outside the context of the planned IPO enhances the plausibility of

these inferences. Assuming that Mooney carried out other duties as

CEO, they were likely to be only “tangentially related” to Aquino’s

allegations of fraudulent conduct, In re Refco, 770 F. Supp. 2d at

376, or they may have served as “cover” by concealing Mooney’s true

loyalties. Even to the extent that Mooney made decisions that sped

along the IPO or created short-term benefits for Inpellis, proof of

such     facts      would    not    necessarily       defeat   the   adverse    interest

exception.14



       See In re Refco, 779 F. Supp. 2d at 377 (“More generally, the
       14

attempts by defendants to find somewhere in the 300–page Amended
Complaint a snippet or two that suggests that [plaintiffs] somehow
received some tangentially-related benefit from the illicit transfers
that are the heart of the instant claims is utterly inconsistent with
the fundamental principle that, on a motion to dismiss, a complaint
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       Defendants propose a different chain of inferences, suggesting

at oral argument that ACLP and Mooney proceeded as they did because

they    hoped    circumstances       would       materialize   before     Inpellis’

registration statement became effective that would enable ACLP to

conduct the “firm commitment” offering it promised. See Tr. 7:18-8:6.

This could explain why ACLP and Mooney initially took steps to offer

a “firm commitment” IPO and switched at the last minute to a “best

efforts” offering. However, while Defendants may present evidence

supporting this and other alternatives later in the litigation, at

this stage the Court must draw all inferences in Aquino’s favor.

       Thus, while the Fourth Amended Complaint does not plead the

adverse    interest   exception      in   haec    verba,   crediting    all   of   the

complaint’s     allegations    and    drawing     all   plausible   inferences      in

plaintiff’s favor, the Court finds the allegations sufficient to rebut

the presumptive imputation of Mooney’s acts and knowledge to Inpellis.

V.     Aquino’s Four Claims

       Since none of Defendants’ overall arguments compels dismissal,

the Court now turns to Defendants’ more particularized objections to

each of Aquino’s four claims: (i) fraudulent inducement, (ii) breach

of contract, (iii) breach of fiduciary duty, and (iv) fraud.




must be read most favorably to the plaintiffs. A motion to dismiss is
not designed to be a game of ‘gotcha,’ that ignores the clear thrust
of hundreds of pages of specific allegations in favor of a line or two
here or there that is arguably inconsistent with that thrust.”).

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       Rule 9(b) of the Federal Rules of Civil Procedure requires that

“[i]n alleging fraud or mistake, a party must state with particularity

the circumstances constituting fraud or mistake.” The Second Circuit

has explained that to satisfy Rule 9(b), a “complaint must: (1) specify

the    statements     that   the   plaintiff   contends   were    fraudulent,   (2)

identify the speaker, (3) state where and when the statements were

made, and (4) explain why the statements were fraudulent.” Lerner v.

Fleet Bank, N.A., 459 F.3d 273, 290 (2d Cir. 2006) (quoting Mills v.

Polar Molecular Corp., 12 F.3d 1170, 1175 (2d Cir. 1993)). However,

Rule 9(b) also provides that “[m]alice, intent, knowledge, and other

conditions of a person’s mind may be alleged generally.” Fed. R. Civ.

P. 9(b). This, in turn, requires plaintiffs to “allege facts that give

rise to a strong inference of fraudulent intent,” which “may be

established either (a) by alleging facts to show that defendants had

both motive and opportunity to commit fraud, or (b) by alleging facts

that        constitute   strong     circumstantial     evidence     of   conscious

misbehavior or recklessness.” Lerner, 459 F.3d at 290–291 (internal

quotation marks and citations omitted).

       A. Count I: Fraudulent Inducement

       Under New York law,15 “[t]he elements of fraudulent inducement

are: a false representation of a material fact and with scienter;




        Since “‘the parties’ briefs assume that New York substantive
       15

law governs’” the fraud-related claims in the first and fourth causes
of action, “‘such implied consent is, of course, sufficient to
establish the applicable choice of law.’” PetEdge, Inc. v. Garg, 234
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reliance thereon by defendant to its detriment.” Nat’l Union Fire Ins.

Co. of Pittsburgh, Pa. v. Worley, 690 N.Y.S.2d 57, 61 (1st Dep’t 1999)

(citing Channel Master Corp. v. Aluminum Limited Sales, Inc., 151

N.E.2d 833 (N.Y. 1958)).

     The Fourth Amended Complaint alleges that Inpellis relied on

ACLP’s “stated intent ... to enter into an exclusive underwriting

agreement ... immediately prior to the [registration statement’s]

effective date” for an offering “of up to $20,000,0000” on a “Firm

Commitment” basis. Compl. ¶ 8. The complaint alleges this was a

misrepresentation because ACLP “held itself out to Inpellis that it

could participate in ‘firm commitment’ offerings,” when “in fact,”

ACLP “had neither the financial ability nor the legal authority to

underwrite such a guaranteed offering.” Id. ¶ 29. This was because

ACLP’s “FINRA membership did not permit the firm to participate in

firm commitment offerings.” Id. ¶ 29(d). Aquino avers that ACLP’s

“ability, authority, and intent to undertake the offering on a ‘firm

commitment’ basis were central to Inpellis’ decision to enter into the

Engagement Agreements because they fundamentally affected whether

Inpellis bore the risk of the offering or whether the risk was assumed

by [ACLP] as the putative ‘firm commitment underwriter.’” Id. ¶ 59.




F. Supp. 3d 477, 486 (S.D.N.Y. 2017) (quoting Arch Ins. Co. v.
Precision Stone, Inc., 584 F.3d 33, 39 (2d Cir. 2009)).




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Aquino further alleges that ACLP intended for Inpellis to rely on

these representations because ACLP sought to win and retain Inpellis’

investment banking business. Id. ¶ 84.

     Defendants offer four arguments why the fraudulent inducement

claim should be dismissed.

     First,   Defendants   dispute    falsity    with   respect   to     ACLP’s

representation that it intended to conduct a firm commitment offering.

Defendants argue that a statement of intent to take future action is

not “a valid basis for fraud.” ACLP Mot. 12. But this Court has

emphasized that “[w]hile it is true that ‘a mere promissory statement

as to what will be done in the future does not constitute a material

misrepresentation of fact, a promise made with a preconceived and

undisclosed intention of not performing it does.’” Senior Health Ins.

Co. of Penn. v. Beechwood Re. Ltd., 345 F. Supp. 3d 515, 527 (S.D.N.Y.

2018) (quoting Spinelli v. Nat’l Football League, 903 F.3d 185, 210

(2d Cir. 2018)). Aquino has specifically alleged that ACLP was not

capable of performing a legitimate “firm commitment” IPO, which lends

plausibility to the allegation that ACLP lacked the intent to perform

such an offering. Compl. ¶ 58. Aquino has also adequately alleged that

the Engagement Agreement contained an implied statement of present

fact -- that ACLP had the capacity and authority to underwrite the

contemplated IPO -- and ACLP knew this representation to be false at

the time it was made. This suffices as an independent basis for a

fraudulent inducement claim. See Senior Health Ins. Co., 345 F. Supp.

3d at 528.

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      Second, Defendants argue that there was no misrepresentation

because ACLP had a “pattern” of participating in firm commitment

offerings during the relevant time period, thereby undermining the

inference that ACLP “did not ‘intend’ to engage in a firm commitment

offering.” Indeed, Defendants contend that the fraudulent inducement

allegation    is    inconsistent    with        ACLP’s   having        performed     firm

commitment offerings “on a regular enough basis to be a pattern, and

with such frequency as to merit a censure and a $45,000 fine.” ACLP

Mot. 8. But this argument misconstrues the alleged misrepresentation.

The   potentially    actionable    representation        is    not     that   ACLP    had

performed firm commitment offerings but, instead, that it had the

financial ability and legal authority to do so. FINRA’s disciplinary

action   demonstrates     the   falsity      of   that   latter        representation.

Defendants’ argument that ACLP intended to underwrite a firm commitment

offering notwithstanding its incapacity to do so fails in part because

it would require the Court to construe the Engagement Agreement as

hiring an underwriter to perform an unlicensed financial transaction.

Moreover, it would violate basic equitable principles to dismiss a

fraudulent inducement claim on the ground that a firm’s disciplinary

record of unauthorized underwriting insulates it from liability for

the   false   assertion    that    it     was     authorized      to     conduct     such

underwriting.

      Third, Defendants argue that the complaint inadequately pleads

scienter. The centerpiece of this argument is a disclaimer contained

in the Engagement Agreements:

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     Except as otherwise set forth herein, nether the Company nor
     Alexander Capital will be under any obligation to the other,
     until both the Company and Alexander Capital have executed and
     delivered the Underwriting Agreement. It is understood that this
     Engagement Agreement is merely a statement of intent and while
     the parties agree in principle to the contents hereof any legal
     obligations between the parties shall be only as set forth in a
     duly negotiated and executed Underwriting Agreement, which
     Underwriting Agreement shall be in form and content satisfactory
     to Alexander Capital, the Company and their respective counsel.
     This Engagement Agreement shall, nevertheless, constitute a
     binding agreement relative to the reimbursement of Alexander
     Capital’s expenses. ECF 40-1 at 5; ECF 40-2 at 5–6 (emphasis
     added).

This passage, Defendants argue, “shows that [ACLP] was telling Inpellis

not to rely on that language since it was expressly subject to change.”

ACLP Mot. 14. But Defendants misread this language. While it does

preserve flexibility for the parties to determine the content of the

later Underwriting Agreement, this provision says nothing about the

terms of the Engagement Agreement itself. As explained further below,

the Court concludes, on the present record, that the Engagement

Agreements created enforceable obligations in contract. See infra at

36-41. Nowhere does this provision purport to make the Engagement

Agreements’ terms subject to change or otherwise discourage Inpellis’

reliance on the alleged misrepresentation at issue: ACLP’s stated

intention   and   implied     capacity     to   underwrite    a     firm   commitment

offering.

     Here, the Engagement Agreements drafted by ACLP and transmitted

to Inpellis represent that ACLP had the intention (and, impliedly, the

ability) to conduct an IPO of “up to $20,000,000 ... on a ‘Firm

Commitment’   basis.”   ECF    40-2   at   1.   In   this    way,    the   Agreements


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allegedly misrepresented both ACLP’s capacities and intentions, since

the firm was unable to conduct a legitimate IPO on a firm commitment

basis. Aquino further alleges that Inpellis reasonably relied on that

representation in deciding to enter the Engagement Agreements, Compl.

¶ 23, that ACLP knew that Inpellis would reasonably rely on that

representation, id. ¶ 27, and that ACLP knew it could not and would

not   conduct   the   IPO   on   a   firm    commitment     basis,   id.   ¶ 28.   The

Engagement Agreement’s caveat -- that the offering’s final terms would

not be settled until the execution of an Underwriting Agreement --

does not undermine the straightforward inferences of scienter and

reliance. The allegations, taken as true, provide a strong basis to

infer that ACLP made these misrepresentations with the intention of

winning Inpellis’ investment banking business. For these reasons,

Aquino’s   allegations      meet     Rule        9(b)’s   particularized    pleading

requirement under Lerner. See 459 F.3d at 290–91.

      Fourth, Defendants dispute that Aquino has adequately alleged

that Inpellis justifiably relied on ACLP’s representations. Defendants

invoke several reasons, some of which are duplicative of points the

Court has already addressed, but their most forceful argument is that

Inpellis should have investigated ACLP’s FINRA registration status and

therefore should have known that ACLP was unable to conduct a firm

commitment offering. However, because for the reasons given below the

Court finds that the special facts doctrine applies to Aquino’s fraud-

related claims, Aquino has adequately pled justifiable reliance.



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     For all these reasons, the Court finds that Aquino has adequately

pled a cause of action for fraudulent inducement against Defendants.

     B. Count II: Breach of Contract

     “To prevail on a breach of contract claim under New York law, a

plaintiff must prove [i] a contract; [ii] performance of the contract

by one party; [iii] breach by the other party; and [iv] damages.”

Terwilliger v. Terwilliger, 206 F.3d 240, 245–246 (2d Cir. 2000)

Defendants dispute the first, third, and fourth of these elements.

While the Engagement Agreements’ drafting creates some ambiguity about

the scope of the parties’ commitments, the Court finds that they

created    enforceable    obligations         for   ACLP,     and   that    Aquino    has

adequately pled ACLP’s breach and consequent damages.

            a. Contract Formation

     Defendants argue that the Engagement Agreements did not form an

enforceable contract, at least not with respect to any of ACLP’s

alleged    breaches,    because     the   Agreements        expressly      disclaim   the

creation     of   enforceable       duties.     Defendants      maintain      that    the

Engagement Agreements only signify an intent to execute a subsequent

Underwriting      Agreement   and    Inpellis’      promise    to   reimburse    ACLP’s

reasonable expenses. But this position ignores both the Agreements’

overall meaning and the parties’ subsequent conduct. With respect to

the contemplated, final Underwriting Agreement for the IPO itself,

Defendants are correct: the Engagement Agreements only amount to an

agreement to agree. But, at least in a motion to dismiss posture,



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Defendants are wrong that the Engagement Agreements created none of

the obligations ACLP allegedly breached.

     The key passage provides that “neither the Company nor Alexander

Capital will be under any obligation to the other, until both the

Company    and    Alexander   Capital     have    executed     and   delivered   the

Underwriting Agreement.” ECF 40-1 at 5; ECF 40-2 at 5–6. It also

characterizes the Engagement Agreements as “merely a statement of

intent”     and   specifies     that    the      Engagement    Agreement    “shall,

nevertheless,      constitute    a     binding     agreement    relative    to   the

reimbursement of [ACLP’s] expenses.” Id.

     The Engagement Agreements certainly did not oblige ACLP to sign

a final Underwriting Agreement. In New York, a “preliminary, non-

binding proposal to agree” does not create a contract. See, e.g.,

Aksman v. Xiongwei Ju, 799 N.Y.S.2d 493, 495 (1st Dep’t 2005). When

“expressly conditioned on the ‘execution of a definitive agreement

satisfactory in form and substance’ to both sides,” an “agreement to

agree” is not an enforceable contract. Prospect Street Ventures I, LLC

v. Eclipsys Solutions Corp., 804 N.Y.S.2d 301, 302 (1st Dep’t 2005).

While the law generally enforces “letters of intent or term sheets”

when they “contain all material terms of the contemplated contract,

or when the remaining acts to arrive at a contract ... are merely

ministerial,” this is not the rule when, as here, material terms are

left for future negotiations. Local Union 813, Intern. Broth. of

Teamsters v. Waste Management of N.Y., LLC, 469 F. Supp. 2d 80, 86–87

(E.D.N.Y. 2007). Nor are enforceable contracts formed “when the parties

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include a term ... that shows the intent not to be bound prior to the

implementation of what otherwise would be a ministerial step.” Local

Union 813, 469 F. Supp. 2d at 87.

     Defendants therefore are correct that the Engagement Agreements

are not enforceable agreements to agree to a future Underwriting

Agreement with regard to the IPO. The Engagement Agreements explicitly

envision     future    “Underwriting        Agreements”       that   will   be   “duly

negotiated and executed” by the parties and that will “be in form and

content satisfactory to” ACLP, Inpellis, and their respective counsel.

ECF 40-2 at 5–6. Neither Engagement Agreement includes all the material

terms   of   the    Underwriting      Agreement.       Each    Engagement    Agreement

expressly states it is “merely a statement of intent” and that neither

party “will be under any obligation to the other one” until the

Underwriting Agreement is executed. Id. at 5. Aquino argues that the

Engagement Agreements cabin ACLP’s discretion not to execute the future

Underwriting Agreement, because they specify a series of conditions

that ACLP could invoke in its sole discretion if ACLP chose not to

proceed. Id. at 5. But New York law is clear that the Engagement

Agreements    cannot    bind   ACLP    to    sign   any   particular      Underwriting

Agreement, even though it allegedly never invoked any of the specified

conditions. Compl. ¶ 24.

     Nonetheless, other passages of the Engagement Agreements are

reasonably read to create immediate duties on ACLP’s part, and Aquino’s

claims do not turn on whether ACLP was bound to execute an Underwriting

Agreement.    Two     paragraphs      within     the   first    section     (“Term   of

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Retention”) are best construed to refer to the Engagement Agreements

themselves, rather than to the contemplated Underwriting Agreement.

The   first     paragraph     provides    that    “This      exclusive      engagement

agreement ... and the Company’s engagement of Alexander Capital as

managing underwriter shall commence at the signing of this document”

ECF 40-2 at 1 (emphasis added). The second paragraph provides that

“Alexander Capital shall also be the exclusive financial advisor on

all financings and advisory (including M&A) during this Engagement.”

Id. (emphasis added). Aquino argues, and the Court agrees, that these

constitute     present    promises    created    by   the   Engagement      Agreements

themselves, rather than statements about a relationship governed by

the contemplated Underwriting Agreement. The Engagement Agreements are

best construed as Inpellis engaging ACLP to advise it with regard to

the preliminary steps leading up to the IPO, with ACLP’s duties

beginning     immediately    and     running    through     the   execution    of   the

Underwriting Agreement. The Engagement Agreements require Inpellis to

pay ACLP various fees for its work as financial advisor, including a

“cash Placement Fee of ten percent ... on any bridge or private

financings      completed    by    [Inpellis]     during     the    terms     of    this

agreement.”16 ECF 40-2 at 4. Aquino alleges that Inpellis paid ACLP



       Among the differences between the two Engagement Agreements is
      16

the amount of this “Placement Fee,” which was only eight percent in
the first agreement. See ECF 40-1 at 4. The Engagement Agreements
provide for ACLP to receive other fees before any underwriting
agreement was executed, in relation to ACLP’s role as managing
underwriter and exclusive financial advisor. These include the
issuance to ACLP of “non-callable warrants of [Inpellis stock] ...
equal to eight percent ... of the aggregate number of share of common
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approximately $500,000 pursuant to this provision. Compl. ¶ 39. The

Agreements also oblige Inpellis to engage accountants and attorneys

acceptable to ACLP, which Aquino avers Inpellis did at substantial

expense. Compl. ¶¶ 15–20, 25. These actions taken by Inpellis in

detrimental   reliance   on   the    Engagement   Agreements   buttress   the

conclusion that the Agreements gave rise to immediate, enforceable

duties flowing from ACLP to Inpellis.

     The   difficulty    is   that    the   paragraphs    specifying     these

obligations follow one which concludes with the statement that “The

Underwriting Agreement and related agreements shall contain such terms

and conditions as are customarily contained in agreements of such

character and among other things, provide for the following:” ECF 40-

2 at 1. One could construe this sentence to render the balance of the

Engagement Agreements, including the “Term of Retention” section, a

statement of terms that will appear in the Underwriting Agreement.

ACLP’s ambiguous drafting therefore leaves the Court with a choice

between two awkward readings: (1) that the Engagement Agreements’

sloppy drafting inadequately distinguishes between present promises

binding during the IPO preparation period and agreements to agree

about the terms of the Underwriting Agreement that will in future



stock ... sold to investors” in any bridge or private financing, and
a “cash M&A Transaction Fee of 3% of the Total Transaction Value ...
on any merger or acquisition ... during the term of this agreement.”
ECF 40-2 at 4. The Agreements also specify other fees that ACLP will
earn from the underwriting itself, which depends in part on execution
of the Underwriting Agreement. See id. at 3 (¶¶ II(a)–(b)).



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govern the offering itself; or (2) that the Engagement Agreements are

almost entirely agreements to agree, with the exception of the “binding

agreement relative to the reimbursement of [ACLP’s] expenses.” For

present purposes, the Court concludes that the former construction is

more reasonable, especially in light of the Fourth Amended Complaint’s

allegations, which must be taken as true in this posture. The parties’

behavior, as alleged, reflects a mutual understanding that Inpellis

had engaged ACLP to start advisory and preliminary underwriting work

immediately, and Inpellis paid ACLP for that work. Therefore, the

Court holds that ACLP made enforceable promises in the Engagement

Agreements to serve as Inpellis’ managing underwriter and exclusive

financial advisor.

             b. Breach

         Aquino alleges that Defendants breached their obligations under

the Engagement Agreements in three, interrelated ways: first, that

ACLP did not carry out its undertakings as managing underwriter in

good faith; second, that ACLP did not provide Inpellis with independent

financial advice in its role as Inpellis’ exclusive financial advisor;

and third, that ACLP failed to inform Inpellis of material facts of

which it was uniquely aware, especially that ACLP lacked the capacity

and intent to conduct a firm commitment offering, and that ACLP and

Inpellis’ CEO, Dr. Mooney, were working in concert to conduct the IPO

in   a    manner   that   harmed   Inpellis’   interests   and   undermined   the

integrity of the IPO. Compl. ¶ 68.



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     Defendants argue that Aquino has inadequately pled each of these

theories of breach, that imputing Dr. Mooney’s knowledge to Inpellis

undermines these allegations, and that ACLP could not have breached

as alleged because that would require ACLP to have taken on fiduciary

duties to ACLP, which Defendants deny. ACLP Mot. at 23–26. The Court

finds Defendants’ arguments unconvincing.

     First, the Court concludes that Aquino pled ACLP’s breach with

adequate particularity. The Fourth Amended Complaint is replete with

allegations of ACLP’s failure to conduct its underwriting and advisory

duties in good faith, including by failing to follow SEC directives

regarding   inclusion   of   certain    disclosures   in   the   registration

statement; by making a secret, last-minute switch to a “best efforts”

offering; and by fraudulently obtaining board members’ signatures on

the public S-1 filing.

     Second, as explained above, the Court will not impute Dr. Mooney’s

knowledge and acts to Inpellis, because Aquino has (just barely)

alleged a sufficient basis to invoke the adverse interest exception.

     Third,   the   Court    rejects    Defendants’   contention    regarding

fiduciary duties. As explained below, at this juncture, the Court

rejects Defendants’ position that ACLP did not owe Inpellis any

fiduciary duties. But even if no fiduciary duties had arisen, Aquino

has pled adequately that ACLP withheld material facts regarding its

performance and that this amounted to a breach.




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           c. Damages

     Defendants also argue that Aquino has inadequately pled that

Inpellis   suffered     damages   from   ACLP’s     breach      of   the   Engagement

Agreements. According to ACLP, Aquino has failed to aver facts that

render plausible the inference that Inpellis would have received

benefits and avoided losses but for ACLP’s breach. Defendants are

incorrect: The Fourth Amended Complaint contains numerous plausible

allegations of harm resulting from ACLP’s breach of its duties under

the Engagement Agreements.

     For the reasons set forth above, the Court finds that Aquino has

stated a claim for breach of contract against Defendants. While the

Engagement Agreements are poorly drafted and Defendants’ arguments are

not frivolous, the Engagement Agreements may plausibly be read as

creating   obligations     enforceable        against   ACLP.    The   other    three

elements are adequately pled. Therefore, the Court denies Defendants’

motions to dismiss Count II.

     C. Count III: Breach of Fiduciary Duty

     Under New York law, “the elements of a breach of fiduciary duty

claim are ‘(1) that a fiduciary duty existed between plaintiff and

defendant, (2) that defendant breached that duty, and (3) damages as

a result of the breach.’” Senior Health Ins. Co. of Penn., 345 F.

Supp. 3d at 523 (quoting Meisel v. Grunberg, 651 F. Supp. 2d 98, 114

(S.D.N.Y. 2009)). Defendants do not dispute damages, and the Court

concludes that Aquino has adequately pled the other two elements.



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              a. Duty

        Aquino alleges that ACLP established a fiduciary duty to Inpellis

by committing, through the Engagement Agreements, to serve as the

managing underwriter and exclusive financial advisor. Compl. ¶ 73.

Where “a valid contract governs the dispute between the parties, ‘a

cause    of   action    for   breach   of    fiduciary       duty   which   is   merely

duplicative of a breach of contract claim cannot stand.’” Senior Health

Ins. Co. of Penn., 345 F. Supp. 3d at 523 (quoting William Kaufman

Org., Ltd. v. Graham & James LLP, 703 N.Y.S.2d 439, 442 (1st Dep’t

2000)). But “‘conduct amounting to breach of a contractual obligation

may   also    constitute      the   breach       of   a   duty   arising   out   of   the

relationship created by contract which is nonetheless independent of

such contract.’” Id. (quoting Bullmore v. Ernst & Young Cayman Islands,

846 N.Y.S.2d 145, 148 (1st Dep’t 2007)). “In determining whether a

fiduciary duty exists, the focus is on whether one person has reposed

‘trust or confidence in another’ and whether the second person accepts

the trust and confidence and ‘thereby gains a resulting superiority

or influence over the first.’” Indep. Asset Mgmt. LLC v. Zanger, 538

F. Supp. 2d 704, 709 (S.D.N.Y. 2008) (quoting Regions Bank v. Wieder

& Mastroianni, P.C., 423 F. Supp. 2d 265, 270 (S.D.N.Y. 2006)).

        Defendants argue that Aquino failed to properly allege that the

Engagement Agreements created a fiduciary duty flowing from ACLP to

Inpellis. Defendants cite a New York Court of Appeals case for the

proposition that an underwriting contract does not impose a fiduciary

duty on an underwriter. See ACLP Mot. 26, citing EBC I, Inc. v.

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Goldman, Sachs & Co., 5 N.Y.3d 11 (2005). But Defendants misstate the

court’s    holding.    EBC   I   does    not    stand    for   the   proposition   that

underwriters owe no fiduciary duties to issuer clients; rather, the

court holds that even if fiduciary duties are not automatically created

by a standard underwriting contract (an assumption, not a holding)

then “a cause of action for breach of fiduciary duty may survive”

where “the underwriter and issuer created a relationship of higher

trust than would arise from the underwriting agreement alone.” Id. at

20. EBC I in fact held that the investment bank defendant had taken

on limited fiduciary duties, in light of the nature of the “advisory

relationship that was independent of the underwriting agreement.” Id.

      Aquino has similarly alleged that ACLP accepted a fiduciary duty

to Inpellis in its capacity as financial advisor under the Engagement

Agreements. The Court will follow EBC I in finding that this gave rise

to a fiduciary duty. At the pleading stage, it is plausible to infer

that this duty required ACLP to disclose its inability and lack of

intent    to   undertake     a   “firm    commitment”        offering,   because   this

implicated the wisdom of Inpellis’ assuming a multimillion-dollar debt

in the form of the bridge loan. This duty could also plausibly have

required disclosure of Mooney’s divided loyalty and ACLP’s conduct in

its   management      of   the   IPO.    Contrary       to   Defendants’   unsupported

assertion, the Engagement Agreements’ provisions requiring Inpellis

to retain its own attorneys and its implication that Inpellis will

exercise independent judgment on certain IPO-related matters do not

preclude formation of the alleged fiduciary duty.

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             b. Breach

      Defendants argue that ACLP could not have breached any fiduciary

duties it owed to Inpellis through the alleged failures to disclose

because Dr. Mooney knew all the relevant facts, and his knowledge

should be imputed to Inpellis. But as explained above, the Court holds

that the adverse interest exception to the usual agency rule of

imputation applies to Dr. Mooney. Therefore, the Court finds that

Aquino has adequately alleged that ACLP breached its fiduciary duties

by failing to disclose its inability and lack of intent to underwrite

a   firm    commitment   offering,    by    concealing   Mooney’s   conflicts   of

interest and divided loyalties, and by concealing from Inpellis’ board

the last-minute switch in the S-1 form.

      For these reasons, Aquino has stated a claim for breach of

fiduciary duty and the       Court denies the motions to dismiss Count III.

      D. Count IV: Fraud

      In New York, “[t]he elements of a cause of action for fraud [are]

a material misrepresentation of a fact, knowledge of its falsity, an

intent to induce reliance, justifiable reliance by the plaintiff and

damages.” Eurycleia Partners, LP v. Seward & Kissel, LLP, 12 N.Y.3d

553, 559 (2009). Rule 9(b) applies, the elements must be pled with

particularity. See supra at 30.

      Beyond arguing unpersuasively that the Fourth Amended Complaint

fails to satisfy Rule 9(b)’s pleading standards, Defendants contend

Aquino’s pleading is defective for three reasons, none of which

requires dismissal.

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       First, Defendants argue that the Court should impute to Inpellis

Dr. Mooney’s knowledge of ACLP’s scheme to conduct a best-efforts

offering,     and   that     this   knowledge      vitiates   the   misrepresentation

element. As explained, the Court holds that Aquino has rebutted the

presumption that Mooney’s knowledge should be imputed to Inpellis, so

this argument fails.

       Second, Defendants dispute that Inpellis justifiably relied on

ACLP’s representations. Defendants assert that Inpellis should have

investigated        ACLP’s    licensure       by    requesting      ACLP’s   financial

statements and FINRA membership agreement and thereby discovered that

FINRA did not authorize ACLP to underwrite firm commitment offerings.

Mot.    16,   31.     But    ACLP    cannot     affirmatively       misrepresent   its

capabilities to a client, as it is alleged to have done, and then

argue that it is immune from fraud liability because the truth lay

dormant in a regulator’s records. This Court has accordingly held that

“the duty of the victim to investigate is ... obviated by the ‘special

facts doctrine,’” which “provides that a duty to disclose arises if

one party possesses superior knowledge, not readily available to the

other, and knows that the other is acting on the basis of mistaken

knowledge.’” Senior Health Ins. Co., 345 F. Supp. 3d at 526. The

special facts doctrine applies here because ACLP knew about Dr.

Mooney’s conflict of interest and, further, knew that Inpellis agents

other than Mooney were acting on the basis of mistaken knowledge.

Aquino has therefore adequately pled justifiable reliance.



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      Finally, Defendants cite decades-old Appellate Division precedent

that it may constitute breach, but not fraud,                       for a party to form a

contract       without    the    intent     to      perform.      See   Gordon       v.   Dino    De

Laurentiis Corp., 529 N.Y.2d 777, 779                     (1st Dep't 1988). As discussed

above in connection with the Count I, a false statement of intent is

actionable "'if [the]           promise was actually made with a preconceived

and   undisclosed        intention        of      not    performing       it,"   because         "it

constitutes a misrepresentation of material existing fact upon which

an action [for fraudulent inducement] may be predicated.'" Stewart v.

Jackson    &    Nash,    976    F.2d 86,       89      (2d Cir.   1992)    (quoting Sabo v.

Delman, 143 N.E.2d 906,           908     (N.Y.     1957)). This latter rule applies,

as explained above.            But in any event,            Aquino has alleged numerous

misrepresentations         by    ACLP   following          execution      of   the    Engagement

Agreements,      not least ACLP and Mooney presenting false registration

statements to the Inpellis board members to fraudulently obtain their

signatures.

      For these reasons,          the Court holds that Aquino has adequately

stated a claim for fraud and so denies the motions to dismiss with

respect to Count IV.

VI.   Conclusion

      For the reasons set forth above,                     the Court DENIES Defendants'

motions to dismiss with respect to all of Aquino's causes of action.

      so ORDERED.
Dated:         New York, NY

               July   B, 2021
                                                            ~/ltt--=
                                                           JED S. RAKOFF, U.S.D.J.

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